       Case 2:09-cr-00863-SRC               Document 83          Filed 12/17/10   Page 1 of 2 PageID: 558




            :DR1TCmjiYKINUM & VAZQUEZ, LLC
            75 Livingstcn tvenue
              ose1and, N w lersey 07068
              973) 422-9:OC
            • kftorneys for t efendant Michael C. Seiarra


                                        TJNJTED STATES DISTRICT COURT
                                            DISTRICT OF NEW JERSEY
                                        (Honorable Stanley R. Chesler, U.S.DJ.)



            JNIThD STA’ ES OF AMERICA,
                                                            Criminal No.: 09463 (SRC)

           vftCRAEL tD CIARRA et aL              :          ORDIR MODIFYING BAIL CONDITIONS


                                  Defendants.



                  THI. i TATTER having come before the Court by defendant Michael C. Sciarra.
       V



           hrough his 1t rney Edmund DeNoia, Esq., on notice to the United States of America
                                                                                                 through
           he United Stat s Attoniey’s Office for the District of New Jersey (V. Grady O’Mai
                                                                                               ley, A.U.S.A,
           ippearing) arid Pretrial Services (Michele Roman, appearing), the parties having consen
                                                                                                   ted to the
       mtry of this cii icr, and for goo4 cause having been shown;

                 ITli4oithis                     dayof
                 ORIE LED that the terms of Michael C. Sciarra’s bail are hereby modified to
                                                                                                 remove
       he home in ar eration condition;

                 FIJRTI IER ORDERED that Michael C. Sciarra.be placed under curfew with th
                                                                                                     ternis
           fthe curfew t’ be determined and monitored by Pretrial Services;




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       Case 2:09-cr-00863-SRC      Document 83       Filed 12/17/10           Page 2 of 2 PageID: 559




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                                             HON. STANLEY R CLER. J.SD.J.




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